
670 S.E.2d 563 (2008)
Carol DALENKO
v.
Robert A. COLLIER, Jr.
No. 274A08-2.
Supreme Court of North Carolina.
December 11, 2008.
Carol Dalenko, Pro Se.
John T. Benjamin, Jr., Raleigh, for Collier.
Prior report: ___ N.C.App. ___, 664 S.E.2d 425.

ORDER
Upon consideration of the notice of appeal from the North Carolina Court of Appeals, filed by Plaintiff on the 9th day of September 2008 in this matter pursuant to G.S. 7A-30 (substantial constitutional question), the following order was entered and is hereby certified to the North Carolina Court of Appeals: the notice of appeal is
"Dismissed Ex Mero Motu by order of the Court in conference, this the 11th day of December 2008."
